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                             UNITED STATES COURT OF APPEALS
                                        FOR THE
                                     SECOND CIRCUIT

              At a Stated Term of the United States Court of Appeals for the Second Circuit, held at the
      Thurgood Marshall United States Courthouse, 40 Foley Square, in the City of New York, on the
      29th day of September, two thousand twenty-two.

      Before:     Reena Raggi,
                  Richard C. Wesley,
                  William J. Nardini,
                         Circuit Judges.
      ________________________________

       Estate of Eitam Henkin, et al.
                                                                     ORDER
                    Plaintiffs-Appellees,
                                                                     Docket No. 21-513
       v.

       Kuveyt Türk Katilim Bankasi A.Ş.

                 Defendant-Appellant.
       ________________________________


             This appeal from an interlocutory order is before the Court on certification by the United
      States District Court for the Eastern District of New York (Cogan, Judge) under 28 U.S.C.
      § 1292(b), and on an order granting leave to appeal by a panel of this Court. In light of this Court’s
      subsequent decisions in Honickman v. BLOM Bank SAL, 6 F.4th 487 (2d Cir. 2021); Kaplan v.
      Lebanese Canadian Bank, SAL, 999 F.3d 842 (2d Cir. 2021); and Weiss v. Nat'l Westminster Bank,
      PLC., 993 F.3d 144 (2d Cir. 2021), cert. denied, 142 S. Ct. 2866 (2022), it is ordered that the
      appeal is dismissed as improvidently granted and remanded for further proceedings in the district
      court consistent with these decisions.

                                                            For the Court:

                                                            Catherine O’Hagan Wolfe,
                                                            Clerk of Court




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